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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE. proceeding under a pseudonym.                 Civil Case No.

                           Plaintiff.
                                                         COMPLAINT
              -against-

 HARVEY WEINSTEIN.                                       Jury Trial Demanded

                           Defendant.




        Plaintiff, proceeding anonymously as Jane Doc. by and through the undersigned counsel.

complains of Defendant Harvey Weinstein ("Weinstein .. ) as follows:

                                         INTRODUCTION

        I.      Defendant Harvey Weinstein used his prominence in the entertainment industry to

lure Plaintiff into sex acts with him by fraud and by force. Weinstein's fraud consisted of false

promises of lucrative film roles for Plaintiff and help in advancing her acting career. As an aspiring

actor, Plaintiff reasonably relied on Weinstein's false promises. After Weinstein caused Plaintiff

to engage in sex acts with him, he would not fulfill those promises.

        2.      Plaintiff now sues Weinstein under the civil remedy provision of the Trafficking

Victims Protection Act (the "TVPA''), I 8 U.S.C.     ~   I 591. Plaintiff seeks compensatory damages.

punitive damages. and attorneys· fees against Weinstein .

                                         .JURISDICTION

        3.     This Court has jurisdiction over this action under 28 U.S.C.    ~   1331 because this is

a civil action arising under a federal statute, 18 U.S.C.   ~   1591.
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                                               VENUE

         4.       Venue is proper in this District under 28 U.S.C. § 139l(b)(l) and 28 U.S.C. §

139 I (b )(2) because Defendant resides in this District and a substantial part of the events or

omissions giving rise to the claim occurred in this District.

                                              PARTIES


         5.       Defendant Harvey Weinstein is a film producer and co-founder of The Weinstein

Company, a film-production company. This year, Weinstein was found guilty by a jury in New

York City of a criminal sexual act in the first degree and rape in the third degree. Weinstein is

currently incarcerated in the State of New York and awaiting extradition to Los Angeles. California

where he faces separate rape and sexual assault charges.

         6.       Plaintiff Jane Doe is a woman who resides in California.

                                               FACTS

A.       Weinstein Approaches Plaintf[lin Cannes, France

        7.        Plaintiff first met Weinstein in Cannes. rrance in 2007 when she was 22 years old

and was there to attend the Cannes Film Festival.

        8.        Weinstein approached Plaintiff near his office. During their discussion. Weinstein

learned that Plaintiff was an actor and said that he wanted to learn more about her career. Weinstein

told his assistant, Victoria Parker, to arrange for a business meeting between Weinstein and

Plaintiff. Later that day. this meeting took place at Wcinstein·s suite at the Majestic l lotcl.

        9.        When the time came for the meeting. Plaintiff met Weinstein and his assistant in

his hotel suite. After the three of them briefly talked about Plaintiffs career. Weinstcin·s assistant

left the suite.




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         I 0.   Once alone. Weinstein grabbed Plaintiff and forced her into the bedroom of the

suite. Weinstein then clutched Plaintiff and tried to force her into massaging him. When Plaintiff

refused to massage him. Weinstein continued to grore Plaintiff and tried to take off her clothes.

Plaintiff warded off Weinstein·s forceful grabbing and clutching and left the suite before he could

rare her.

         11.    J\fl:er this incident. Weinstein continued to pester Plaintiff about meeting again to

discuss her career. When Plaintiff agreed again to meet with him, Weinstein told Plaintiff that the

meeting would take place in his hotel suite. Once in the suite. Weinstein forcefully undressed her

against her will. When she would not engage in sex with him, he grabbed her by force and began

to masturbate himself while groping her.

         12.    On another night - Plaintiffs last night in Cannes - Weinstein invited Plaintiff to

meet some famous people in the film industry. Weinstein said that he wanted to introduce her to

people in the film industry who could advance her career and make her a ·'star.'" Plaintiff agreed

to attend because she believed that it would be a social evening with others. Afl:er Plaintiff and

Weinstein met with various people in their hotel suites, Weinstein brought Plaintiff back to his

hotel suite. Weinstein then used his considerable size and strength advantage to pin Plaintiff down

and rape her.

         13.    Weinstein used fraud, physical force. and coercion to engage       111   sex acts with

Plaintiff.

         14.    Plaintiff did not repo11 the incidents because ofthe influence Weinstein held in the

film industry and the harm that would befall her career if she told anyone about it.




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B.      Weinstein Pursues Plaint(//'

        15.     Soon alter Plaintiff arrived   111   another city that she travelled to from Cannes.

Weinstein called her and said that he would be travelling to that same city. Weinstein told Plaintiff

that he was looking to ·'scout" new locations for a tilm he wanted to make. He also said that he

wanted to talk to Plaintiff about her career and ways that he could get her starring roles.

        16.     Plaintiff tried to dissuade Weinstein from corning. She cautioned Weinstein that the

paparazzi would track them and snap pictures of them together. Because Plaintiff was in a

relationship at the time. she did not want this attention.

        17.     Weinstein persisted and flew to the city. When he was not allegedly scouting

locations, he told Plaintiff that he wanted to see her to discuss helping her with her film career and

finding her agents who could help her land roles in the United States. Weinstein praised Plaintiffs

acting ability and proclaimed that she should be a film star.

        18.    Weinstein again told Plaintiff to meet in his hotel room to discuss her career. Once

in the room, Weinstein again used fraud, physical force. and coercion to engage in sex acts with

Plaintiff. As before, Plaintiff did not report the incident because of the power that Weinstein

wielded in the film industry.

        19.    After these incidents. Weinstein did nothing to fulfill the promises he made to

Plaintiff about advancing her career.

C.     Weinstein Flies Plaint(f/Around the World

       20.     Later in 2007 and into 2008. Weinstein paid for Plaintiff to travel to meet him in

Paris. rrance. Venice. Italy. Capri. Italy. and New York.

       21.     Weinstein would entice Plaintiff to travel to these locales under the pretext that he

would. among other things. get her tilm parts in his films. make her a film star. introduce her to



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important people in the film industry. and get her representation at powerful talent agencies.

Weinstein touted the power he had in the film industry and said that he "could do anything·· for

Plaintiffs career. Weinstein boasted that he could make her a star like he did for other female stars.

        22.     But Weinstein·s promises were false. and he made them with intent to defraud

Plaintiff Weinstein would use these fraudulent promises to bait Plaintiff to meet with him and

then use physical force to cause Plaintiff to engage in sex acts with him.

D.      Plaint([[ Refi1ses Weinstein

        23.     In 2009. Weinstein flew Plaintiff and her mother in his private jet to attend the

Sundance Film Festival in Utah. Weinstein told Plaintiff that he wanted her to "meet his team'" so

that they could cast her in upcoming film roles.

        24.     Once she was at the festival, Weinstein demanded that Plaintiff have a "threesome•·

with him and another female. Plaintiff refused. Weinstein then began to threaten her that she would

"regret" turning him down.

        25.     Because of Weinstein ·s continuing threats and hostility, Plaintiff decided to cut her

stay in Utah short and planned to leave earlier. When Weinstein heard about this, he escalated his

threats. Weinstein even sent a private car to return her to the hotel when she was at the airpo11.

Plaintiff left town anyway.

E.      Weinstein Punishes P/aint(fffor Refusing Him

       26.     After denying Weinstein at the Sundance Film Festival. Weinstein blocked Plaintiff

from attending film events that she regularly attended.

       27.     Moreover. as a result of Weinstein·s intervention. talent agents would not return

her calls. and she stopped getting auditions for acting roles.




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F.      Weinstein Re-Approaches Plaint(fT

        28.      For the next two to three years. Weinstein did not contact Plaintiff. I Iowever. that

changed in 2012.

        29.      By 2012. Plaintiff was living part-time      111   Los Angeles pursuing more acting

opportunities.

        30.      Weinstein saw Plaintiff at an entertainment-related event and said that she "looked

good."" Weinstein told her that he was in Los Angeles and that he wanted to meet with her. He said

that he wanted to talk about ways he could help her career such as hiring a prominent talent agent

who would get her more acting roles.

       31.       Plaintiff agreed to meet Weinstein at his hotel. Once Weinstein had lured her into

his room. Weinstein used fraud, physical force, and coercion to engage in sex acts with Plaintiff.

G.     Plaint([{ Travels to Toronto for the Toronto Film Festival

       32.       In 2014. Plaintiff travelled to the Toronto Film festival to promote a film.

       33.       Weinstein was attending the same festival.

       34.       When Weinstein heard that Plaintiff was there, he expressed his anger that she did

not tell him that she would be there. For several days. Weinstein badgered Plaintiff to meet with

him. Plaintiff finally relented and agreed to meet him in the bar in his hotel lobby.

       35.       After a drink. Weinstein told Plaintiff that he wanted her to go to his hotel room so

they could discuss how he could advance her career. Afraid of Weinstein sexually violating her

again. Plaintiff said that she was in a relationship and did not want to go to his room. Weinstein

said that he ··wouldn·t do anything .. and only wanted to discuss ways to help her career. Plaintiff

finally gave in. fearing what Weinstein would again do to her career.




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        36.    Once in the hotel room. Weinstein began to force himself physically on Plaintiff.

Weinstein again tried to force Plaintiff into sex acts against her will. When Plaintiff tried to fight

him otl Weinstein used his strength and size to pin her down. After much effort. Plaintiff managed

to leave the room without Weinstein sexually penetrating her.

1-1.    Los Angeles 2016

        37.     In January 20 I 6. Weinstein again contacted Plaintiff.

        38.    Weinstein told Plaintiff that he was in Los Angeles and wanted to see her so that

he could discuss ways to help her career.

        39.    Plaintiff ignored him at first. but he continued to pester Plaintiff. Plaintiff

eventually agreed to meet Weinstein at his hotel.

        40.    Weinstein said that the meeting would take place in his hotel room. Once she

arrived. Weinstein used physical force to cause Plaintiff to engage in sex acts with him. Plaintiffs

cries of"no" and ··1 don·t want to do this" did not deter Weinstein.

       41.     After this incident. Plaintiff did not see Weinstein again in person.

       42.     Plaintiff did. however, receive threatening text messages from him accusing her of

being ''disloyal.'' These texts came after writer Ronan Farrow's expose in The New Yorker

magazine about Weinstein's abuse of women and his tactics of using lawyers and private

investigators to silence the women he abused.

                                     CLAIM FOR RELIEF

                               VIOLATION OF 18 U.S.C. § 1591
                              (Trafficking Victims Protection Act)


       43.     Pia inti ff hereby repeats and incorporates by reference each and every allegation in

the foregoing paragraphs as though Cully set forth herein.

       44.     The statute of limitations for violating the TVPA is ten years. 15 U.S.C.   ~   1595.

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        45.        Within the last ten years. Weinstein knowingly. in or affecting interstate or roreign

commerce. recruited. enticed. and/or solicited Plaintiff with knowledge that means or force.

threats of rorce. fraud. or coercion (or a combination of them) would be used to cause Plaintiff to

engage in sex acts with him on account of which anything of value would be given to or received

by Plaintiff by:

        A.         In 2012. Weinstein travelled to Los Angeles where he promised Plaintiff that he

                   would help her land major acting roles, including help her sign with a prominent

               agency and talking to directors who were contemplating casting Plaintiff in their

                   films. There, Weinstein used means of force, threats of force. fraud. or coercion

               (and a combination of them) to cause Plaintiff to engage in sex acts with him.


        B.         In 2014, Weinstein travelled to Toronto for the Toronto Film Festival where he

               promised that he would help Plaintiff land acting jobs in the United States.

                   including roles in films he produced. Weinstein again used means of force. threats

               of force. fraud, or coercion (and a combination of them) to cause Plaintiff to engage

               in sex acts with him.

       C.      In 20 I 6. Weinstein travelled to Los Angeles where he agam promised to help

               Plaintiff land acting jobs. Once again. Weinstein used means or force. threats or

               force. fraud, or coercion (and a combination of them) to cause Plaintiff to engage

               in sex acts with him.

       46.     Weinstein "enticed"' and "recruited"' Plaintiff f'or purposes of the TVPA by his

many promises to Plaintiff that he would use his considerable influence in the entertainment

industry to land her acting roles and make her a "star:·

       47.     Plaintiff as an aspiring actor. reasonably relied on Weinstein·s promises.



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        48.        Weinstein did not follow through on his promises.

        49.        Weinstein made these promises to Plaintiff knowing that they were false and that

they had no factual basis.

        50.        Besides the above-described fraud, Weinstein also used physical force on Plaintiff

to engage in sex acts with him by forcefully clutching, tugging, and pulling her against her will.

        51.        Weinstein's "sex acts" with Plaintiff included vaginal intercourse. oral sex. and

masturbation.

        52.        For Plaintif( an aspiring actor, meeting with a famous film producer about her

career and getting his help obtaining acting roles constitutes something ·'of value'' under the

TVPA.

        53.        Plaintiff sustained damages because of Weinstein's violations of the TVPA.

                                             PRAYER FOR RELIEF

                   Plaintiff requests that the Court:

              I.   Enter judgment in favor of Plaintiff;

              2.   Award Plaintiff compensatory damages in an amount to be determined at trial:

              3. Award Plaintiff punitive damages in an amount to be determined at trial:

              4.   Award Plaintiff her attorneys' fees and costs; and

              5. Grant to Plaintiff such other and fu11her relief as Plaintiff may be entitled as a matter

                   of law or equity, or which the Court determines to be just and proper.




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                                         DEMAND FOR .JURY TRIAL

          Under Federal Rule of Civil Procedure 38. Plaintiff demands a jury trial on all triable

ISSUCS.



Dated: August 6. 2020
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